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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., ET AL.,

     Plaintiffs,
                                                          No. 21-cv-02130-CJN
v.
HERRING NETWORKS, INC., ET AL.,
     Defendants.

 [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION PRO
      HAC VICE OF ATTORNEY BETHANY PICKETT SHAH

     Upon consideration of Motion for Admission Pro Hac Vice of Attorney Bethany

Pickett Shah in the above-captioned matter and the Declaration of Bethany Pickett Shah in

support thereof, and it appearing that there is good cause to grant the motion, it is hereby

     ORDERED that Motion for Admission Pro Hac Vice of Attorney Bethany Pickett

Shah is GRANTED; and

     FURTHER ORDERED that Bethany Pickett Shah be allowed to appear pro hac vice

in court proceedings in the above-captioned matter.

     SO ORDERED this _____ day of __________ 2023.

Dated: June __, 2023



                                                   ___________________________
                                                   CARL J. NICHOLS
                                                   United States District Judge
